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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )             Case No. 8:05CR187
                     Plaintiff,                )
                                               )
       vs.                                     )
                                               )                      ORDER
STACY SCOTT,                                   )
                                               )
                     Defendant.                )


       This case is before the court on the defendant’s Motion to Review Conditions of
Pretrial Release (#44). The defendant moves the court for an order releasing him to CH,
Inc., a private work-release facility in Council Bluffs, Iowa.
       After reviewing the April 27, 2005 Pretrial Services memorandum, the July 6, 2005
updated criminal record of the defendant, and the April 28, 2005 Detention Order (#26),
I find the motion should be denied without hearing.
       The proposed placement at CH, Inc. fails to address the court’s concerns
surrounding the defendant’s criminal record, specifically, his three pending criminal trials
in two Nebraska counties. The proposed placement also fails to rebut the presumption of
detention under 18 U.S.C. § 3142(e). I find the defendant should remain in custody.
       IT IS ORDERED:
       1. The defendant’s Motion to Review Conditions of Pretrial Release (#44) is denied
without hearing.
       Dated this 7th day of July 2005.

                                           BY THE COURT:


                                           S/ F.A. Gossett
                                           United States Magistrate Judge
